Case: 2:25-cv-00042-HEA              Doc. #: 7   Filed: 07/14/25    Page: 1 of 3 PageID #: 215




   In the United States District Court for the Eastern District of
                              Missouri
                             at Hannibal

 Hannibal-LaGrange University,
            Plaintiff,
 vs.                                                 Case No. 2:25-cv-00042-HEA
 Linda McMahon, et al.
          Defendants.



 Plaintiff’s Motion to file overlength suggestions in support of its
                 motion for Preliminary Injunction


        Pursuant to Local Rule 4.01(D) and Federal Rule of Civil Procedure 7(b), Plaintiff

Hannibal-LaGrange University (“HLGU”) respectfully moves for leave to file an over-length

memorandum in support of its contemporaneously filed motion for preliminary injunction.

        In support, HLGU states:

        1. Local Rule 4.01(D) generally limits any motion, memorandum, or brief to fifteen (15)

numbered pages unless the Court grants prior leave.

        2. Plaintiff’s preliminary injunction brief addresses weighty constitutional and statutory

claims, including violations of the First Amendment, the Religious Freedom Restoration Act, and

the Higher Education Act. Resolving these issues will require careful exposition of complex
statutory and regulatory frameworks, as well as controlling Supreme Court and Eighth Circuit

precedent.

        3. HLGU therefore requests permission to file a memorandum not to exceed twenty-four

(24) numbered pages, exclusive of the table of contents, table of authorities, signature block, and

exhibits. A copy of the proposed brief is attached as Exhibit 1. This length is the minimum

necessary to present the record, articulate the legal standards, and apply those standards to the

facts without sacrificing clarity.

                                                 1
Case: 2:25-cv-00042-HEA          Doc. #: 7     Filed: 07/14/25      Page: 2 of 3 PageID #: 216




       4. Good cause exists, because the brief involves constitutional principles of church

autonomy and free exercise that bear directly on HLGU’s ability to govern itself in accordance

with Baptist doctrine. Moreover, the challenged regulation is both novel and intricate, requiring

detailed statutory analysis and comparison with other federal oversight mechanisms. Further, an

undersized brief would impede the Court’s full consideration of the merits at this critical, time-

sensitive stage.

       5. As of the filing of this motion, no attorney has yet been assigned to defend the

Department. Accordingly, undersigned counsel has been unable to obtain their position but will

promptly notify the US Attorney and attorneys for the Department, providing them with an

opportunity to respond.

       6. Granting this motion will not prejudice Defendants; Plaintiff consents to a reciprocal

overlength brief, should Defendants’ desire.

       WHEREFORE, Plaintiff Hannibal-LaGrange University respectfully asks the Court to

grant leave to file a memorandum in support of its Motion for Preliminary Injunction of up to

twenty-four (24) pages and for such further relief as the Court deems just.

                                             Respectfully Submitted,


                                             Law Offices of Jonathan R Whitehead
                                             LLC
                                             s/Jonathan R. Whitehead
                                             Mo. Bar 56848
                                             229 S.E. Douglas St., Ste. 210
                                             Lee’s Summit, Mo 64063
                                             816.398.8305 – Phone
                                             816.278.9131 – Fax
                                             jon@whiteheadlawllc.com
                                             Attorney for Plaintiff Hannibal
                                             LaGrange University




                                                2
Case: 2:25-cv-00042-HEA         Doc. #: 7     Filed: 07/14/25      Page: 3 of 3 PageID #: 217




                                Certificate of Service


      I hereby certify that on July 14 2025, I electronically filed the above with the Clerk of the

Court by using the CM/ECF system. Participants in the case who are registered CM/ECF users

will be served by the CM/ECF system.

      Date: July 14, 2025.

                                            s/Jonathan R. Whitehead

                                            An Attorney for Plaintiff Hannibal

                                            LaGrange University




                                               3
